
388 U.S. 454 (1967)
SCHACKMAN ET AL.
v.
CALIFORNIA.
No. 995.
Supreme Court of United States.
Decided June 12, 1967.
APPEAL FROM THE SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES.
Burton Marks for appellants.
Roger Arnebergh and Philip E. Grey for appellee.
PER CURIAM.
The judgments of the Superior Court of California, County of Los Angeles, are reversed. Redrup v. New York, 386 U. S. 767.
THE CHIEF JUSTICE, MR. JUSTICE CLARK, and MR. JUSTICE BRENNAN would affirm the judgments of the lower court. Ginzburg v. United States, 383 U. S. 463.
MR. JUSTICE HARLAN adheres to the views expressed in his separate opinions in Roth v. United States, 354 U. S. 476, 496, and Memoirs v. Massachusetts, 383 U. S. 413, 455, and on the basis of the reasoning set forth therein would affirm.
